Case 2:19-cv-03863-PA-SK Document 32 |Filed 05/08/20 Page 1of1 Page ID #:1174

 

UNITED STATES DISTRICT COURT
CENTRAL DISTRICT OF CALIFORNIA

‘Travelers Property Casualty Company of America ASE NUMBER:

2:19-cv-03863-PA (SKx)

Plaintif{(s)

 

TSC Acquisition Corp.
NOTICE OF
MEDIATION DATE

Defendant(s).

 

YOU ARE HEREBY NOTIFIED THAT THE PANEL MEDIATOR HAS SCHEDULED A MEDIATION
IN THE ABOVE-CAPTIONED CASE

for May 13, 2020 at 10:00 [yjam./ [_}p.m.

LOCATION: telephone conference

 

 

The mediation session must be completed and an ADR-03 Report must be filed on or before the
Court-ordered completion date.

 

 

 

Continuances are not favored and can only be granted by the Mediator up to the Court-ordered completion
date. Absent extraordinary circumstances, parties cannot request a continuance within three (3) business

days of a scheduled mediation.

 

 

 

 

Dated: May8,2020 | Panel Mediator: Frank Kaplan
Address: 5473 Collingwood Circle
Calabasas, CA 91302
Phone: 310-429-2067

 

 

ADR-13 (01/12) NOTICE OF MEDIATION DATE Page 1 of 1

 
